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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 CARNECIA ROBINSON, et al.,

                Plaintiffs,

        v.
                                                           No. 20-cv-1364 (DLF)
 DISTRICT OF COLUMBIA BOARD OF
 ELECTIONS,

                 Defendant.


                                              ORDER

       For the reasons stated on the record during the May 28, 2020 telephonic hearing, the

plaintiffs’ Motion for a Temporary Restraining Order, Dkt. 15, is DENIED. Accordingly, the

parties shall file a joint status report on or before June 2, 2020, proposing a schedule for any

further proceedings.




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                                                              DABNEY L. FRIEDRICH
May 28, 2020                                                  United States District Judge
